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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

  Civil Action No. 23-cv-1076


  ROCKY MOUNTAIN GUN OWNERS, and
  ALICIA GARCIA,

        Plaintiffs,

  v.

  JARED S. POLIS, in his official capacity as Governor of the State of Colorado

        Defendant.

  ________________________________________________________________________

                                  COMPLAINT
  ________________________________________________________________________

        Plaintiffs Rocky Mountain Gun Owners (“RMGO”) and Alicia Garcia (“Garcia”)

  submit the following Complaint.

                                 I. INTRODUCTION

        This action is a challenge to the constitutionality of House Bill 23-1219 enacted

  by the Colorado General Assembly and signed by Governor Polis on April 28, 2023

  (“HB23-1219”). HB23-1219 will become effective on August 4, 2023. HB23-12119

  makes it unlawful for any person who sells a firearm to deliver the firearm to the

  purchaser until a minimum of three days after the seller has initiated a background

  check, even if a clean background check comes back immediately. As such, it is

  blatantly unconstitutional under the Second Amendment to the United States




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  Constitution as made applicable to the states by the Fourteenth Amendment. A copy

  of HB23-1219 in its final form is attached as Exhibit A.

                                     II. PARTIES

  1.    Plaintiff RMGO is a nonprofit organization. RMGO seeks to defend the right

  of all law-abiding individuals to keep and bear arms. RMGO has members who reside

  in Colorado who desire to exercise their Second Amendment right to purchase a

  firearm without having their right burdened by arbitrary, unnecessary, burdensome

  and useless delays. RMGO represents the interests of these members. Specifically,

  RMGO represents the interests of those who are affected by HB23-1219’s

  unconstitutional burden on the Second Amendment rights of law-abiding citizen who

  purchase firearms. It is these members’ present intention and desire to lawfully

  purchase firearms for lawful purposes, including self-defense in their home, and they

  desire to do so without arbitrary, unnecessary, burdensome and useless delays. These

  members are precluded from purchasing a firearm without arbitrary, unnecessary,

  burdensome and useless delays by HB23-1219.

  2.    Plaintiff Garica is an adult law-abiding citizen of Colorado and the United

  States. She is affected by HB23-1219’s unconstitutional burden on the Second

  Amended rights of law-abiding citizens who purchase firearms. She has a present

  intention and desire to lawfully purchase a firearm for lawful purposes, including

  self-defense in her home, and she desires to do so without arbitrary, unnecessary,

  burdensome and useless delays. She is precluded from purchasing a firearm without

  arbitrary, unnecessary, burdensome and useless delays by HB23-1219.



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  3.     Defendant Jared S. Polis is the Governor of the State of Colorado. This action

  is brought against him in his official capacity.

  4.     Defendant is or will enforce the unconstitutional provisions of the law against

  Plaintiffs under color of state law within the meaning of 42 U.S.C. § 1983.

                          III. JURISDICTION AND VENUE

  5.     The Court has original jurisdiction of this civil action under 28 U.S.C. § 1331,

  because the action arises under the Constitution and laws of the United States. The

  Court also has jurisdiction under 28 U.S.C. § 1343(a)(3) and 42 U.S.C. § 1983 since

  this action seeks to redress the deprivation, under color of the laws, ordinances,

  regulations, customs and usages of the State, of rights, privileges or immunities

  secured by the United States.

  6.     Plaintiffs’ claims for declaratory and injunctive relief are authorized by

  28 U.S.C. §§ 2201 and 2202, respectively, and their claim for attorneys’ fees is

  authorized by 42 U.S.C. § 1988.

  7.     Venue in this judicial district is proper under 28 U.S.C. § 1391(b)(2), because

  a substantial part of the events or omissions giving rise to Plaintiffs’ claims occurred

  in this district.

                            IV. GENERAL ALLEGATIONS

  8.     The Second Amendment to the United States Constitution declares that “the

  right of the people to keep and bear arms shall not be infringed.” U.S. CONST. amend.

  II; see also D.C. v. Heller, 554 U.S. 570 (2008); McDonald v. City of Chicago, 561 U.S.

  742 (2010); and New York State Rifle & Pistol Ass’n, Inc. v. Bruen, 142 S. Ct. 2111 (2022).



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  9.      The right to keep and bear arms recognized in the Second Amendment is made

  applicable to the states by the Fourteenth Amendment. McDonald, supra.

  10.     HB23-1219 states in relevant part:

        It is unlawful for any person who sells a firearm, including a licensed gun
        dealer as defined in section 18-12-506 (6), to deliver the firearm to the
        purchaser until the later in time occurs: (i) three days after a licensed gun
        dealer has initiated a background check of the purchaser that is required
        pursuant to state or federal law; or (ii) the seller has obtained approval for
        the firearm transfer from the bureau after it has completed any background
        check required by state or federal law.

  11.     In Bruen, the Court held: “We reiterate that the standard for applying the

  Second Amendment is as follows: When the Second Amendment’s plain text covers

  an individual’s conduct, the Constitution presumptively protects that conduct. The

  government must then justify its regulation by demonstrating that it is consistent

  with the Nation’s historical tradition of firearm regulation.” Id., 142 S. Ct. at 2129-

  30.

  12.     Plaintiffs desire to purchase firearms for lawful purposes (including defense of

  their homes). HB23-1219 prohibits or soon will prohibit Plaintiffs from doing so

  without being subjected to an arbitrary, unnecessary, burdensome and useless delay.

  The right to keep arms necessarily implies the right to acquire arms. Therefore,

  because the Second Amendment’s plain text covers Plaintiffs’ conduct – i.e., acquiring

  bearable arms – “the Constitution presumptively protects that conduct.” Id., 142 S.

  Ct. at 2126 (emphasis added). Plaintiffs have met their burden under Bruen, and

  HB23-1219 is presumptively unconstitutional.




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  13.   Since the Second Amendment presumptively protects Plaintiffs’ conduct, the

  State must justify HB23-1219 by demonstrating that it is consistent with the Nation’s

  historical tradition of firearm regulation. But it is impossible for the State to meet

  this burden because there is no such historical tradition of firearms regulation in this

  Nation. See Complete Colorado, Kopel: Colorado bill forcing delay of firearms

  acquisition on shaky constitutional ground, available at:

  https://pagetwo.completecolorado.com/2023/03/01/kopel-colorado-bill-forcing-delay-

  of-firearms-acquisition-on-shaky-constitutional-ground/ (March 1, 2023). This article

  sets forth the written testimony of Law Professor David B. Kopel (whose work was

  cited favorably in Bruen) on HB23-1219, which was submitted to the Colorado House

  of Representatives State, Civic, Military & Veterans Affairs Committee. Professor

  Kopel’s exhaustive historical research led him to conclude that there is no historical

  tradition supporting firearm purchase waiting periods.

  14.   In summary, the plain text of the Second Amendment covers Plaintiffs’

  conduct. Therefore, HB23-1219 is presumptively unconstitutional. The State is

  unable to rebut this presumption because the law is not consistent with Nation’s

  historical tradition of firearm regulation. Therefore, HB23-1219 is unconstitutional.

                           V. FIRST CLAIM FOR RELIEF
                            Right to Keep and Bear Arms
                           U.S. Const., amends. II and XIV

  15.   Paragraphs 1-14 are realleged and incorporated by reference.




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  16.   HB23-1219 burdens the right of residents of the State, including Plaintiffs, in

  exercising their right to acquire arms protected by the Second Amendment. There

  are significant penalties for violations of the law.

  17.   These restrictions infringe on the right of the people of the State, including

  Plaintiffs, to keep and bear arms as guaranteed by the Second Amendment and made

  applicable to Colorado and its political subdivisions by the Fourteenth Amendment.

  18.   HB23-1219’s prohibitions arbitrarily delay the right of law-abiding citizens to

  purchase arms even if they immediately pass all required background checks and

  even if they desire to purchase an arm for the purpose of self-defense in the home,

  where Second Amendment protections are at their zenith.

  19.   The State cannot meet its burden of justifying these restrictions on the Second

  Amendment right of the People by demonstrating that they are consistent with this

  Nation’s historical tradition of firearm regulation.

                              VI. PRAYER FOR RELIEF

        Plaintiffs pray that the Court:

  20.   Enter a declaratory judgment pursuant to 28 U.S.C. § 2201 that HB23-1219 is

  unconstitutional on its and face or as applied;

  21.   Enter preliminary and permanent injunctive relief enjoining Defendant and

  his officers, agents, and employees from enforcing HB23-1219;

  22.   Award remedies available under 42 U.S.C. § 1983 and all reasonable attorneys’

  fees, costs, and expenses under 42 U.S.C. § 1988, or any other applicable law;




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  23.   Award actual or nominal damages to the individual Plaintiff (RMGO does not

  seek damages); and

  24.   Grant any such other and further relief as the Court may deem proper.

  Respectfully submitted this 28th day of April 2023.

  /s/ Barry K. Arrington
  _______________________
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